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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
                                 Civil No.: 04-4722 (MJD/SRN)


VALSPAR CORP., ET AL.,

                        Plaintiffs,

v.                                                                                    ORDER

ALSA CORP.,

                        Defendant.



              The Court having been advised that the above action has settled,

IT IS HEREBY ORDERED that this action is dismissed with prejudice, the Court retaining

jurisdiction for 30 days to permit any party to move or reopen the action, for good cause

shown, or to submit and file a stipulated form of final judgment, or to seek enforcement of the

settlement terms.

Dated: April 12, 2006

                                           s / Michael J. Davis
                                           MICHAEL J. DAVIS
                                           United States District Court Judge
